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 6                                UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                 Plaintiff,                          )
                                                       )
10          v.                                         ) 2:12-CR-237-APG-(CWH)
                                                       )
11 PERLA RAMIREZ,                                      )
                                                       )
12                 Defendant.                          )
                                                       )
13

14                      AMENDED PRELIMINARY ORDER OF FORFEITURE
15          This Court finds that on September 3, 2013, defendant PERLA RAMIREZ pled guilty to

16 Count One of a Four-Count Criminal Indictment charging her with Conspiracy to Travel in Interstate

17 Commerce in Furtherance of Racketeering Activity in violation of Title 18, United States Code,

18 Section 1952(a)(2) and Title 18, United States Code, Section 371. Criminal Indictment, ECF No. 1;

19 Change of Plea Minutes, ECF No. 190; Plea Agreement, ECF No. 191; Preliminary Order of

20 Forfeiture, ECF No. 212.

21          This Court find defendant PERLA RAMIREZ agreed to the forfeiture of the property set

22 forth in the Forfeiture Allegation of the Criminal Indictment and the Plea Agreement. Criminal

23 Indictment, ECF No. 1; Change of Plea Minutes, ECF No. 190; Plea Agreement, ECF No. 191.

24          This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

25 America has shown the requisite nexus between property set forth in the Forfeiture Allegation of the

26 Criminal Indictment, the Plea Agreement, and the offense to which defendant PERLA RAMIREZ
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 1 pled guilty. Criminal Indictment, ECF No. 1; Change of Plea Minutes, ECF No. 190; Plea

 2 Agreement, ECF No. 191.

 3          The following assets are subject to forfeiture pursuant to Title 18, United States Code,

 4 Section 924(d)(1), (2)(C), and (3)(A) and Title 28, United States Code, Section 2461(c):

 5                  1. a black Glock, Model 22, .40 caliber handgun, bearing serial number SMF592;

 6                  2. a black Springfield Armory, Model 1911, .45 caliber handgun, bearing serial

 7                      number N437696; and

 8                  3. any and all ammunition (all of which constitutes “property”).

 9          This Court finds the United States of America is now entitled to, and should, reduce the

10 aforementioned property to the possession of the United States of America.

11          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

12 United States of America should seize the aforementioned property.

13          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

14 PERLA RAMIREZ in the aforementioned property is forfeited and is vested in the United States of

15 America and shall be safely held by the United States of America until further order of the Court.

16          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

17 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

18 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state

19 the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

20 the name and contact information for the government attorney to be served with the petition,

21 pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

22          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be

23 filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

25 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

26 following address at the time of filing:



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 1                 Michael A. Humphreys
                   Assistant United States Attorney
 2                 Daniel D. Hollingsworth
                   Assistant United States Attorney
 3                 Lloyd D. George United States Courthouse
                   333 Las Vegas Boulevard South, Suite 5000
 4                 Las Vegas, Nevada 89101
 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

 6 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

 7 following publication of notice of seizure and intent to administratively forfeit the above-described

 8 property.
 9                     25th day
            DATED this ______   ofof
                              day  September, 2013.
                                     __________________, 2013.

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11                                                        __________________________________
                                                          UNITED STATES DISTRICT JUDGE
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